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                         EXHIBIT E

                    Cease and Desist Letter
        Case 1:21-cv-00875-JSR Document 1-5 Filed 02/02/21 Page 2 of 22




                                      90 Canal Street, Suite 400
                                         Boston, MA 02114

                                         (617) 874-1411
                                   WWW.PAKROOHLAW.COM
                                    darius@pakroohlaw.com

                                        October 22, 2020

VIA U.S. Priority Express Mail

Pan Albanian Federation of America DC Chapter
631 W Church Road
Sterling, VA 20164

Z.Sergio Bitici-Adresa                        Z. Ahmet Hoti
23 Chase Drive                                310 S 3rd Street APT #32
Hansonville, NY 12439                         BROOKLYN, NY 11211

Z. Ahmet Giaffo-Adesa                         Z.Nexhat Kalici
74 Villa Ct                                   193 South Plank Road
Pismo Beach, CA 93449                         Newburgh, NY 12550

Z.Kris Kirka                                  Dr. Elton Mara
2500 Hering Avenue                            38 Jardine Avenue
Bronx, NY 10469                               Staten Island, NY 10314

Z.Armin Zotaj
5524 Shadowwood Drive
Virginia Beach, VA 23455

And VIA Email

The Commission
PO Box 622504
Bronx, New York 10462
komisionivatra@gmal.com

RE: Infringement of The Pan-Albanian Federation of America Vatra Marks and Other
    Violations

Dear Sir or Madam:

         Please be advised this office has been retained by The Pan-Albanian Federation of America
Vatra (The Hearth) Incorporated (“PAFAV”) to pursue its claims against you for violation of, inter
alia, its intellectual property rights.


                                                  1
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                                     90 Canal Street, Suite 400
                                        Boston, MA 02114

                                         (617) 874-1411
                                   WWW.PAKROOHLAW.COM
                                    darius@pakroohlaw.com

        Given your tenured dealings with PAFAV, you are well-informed of its extensive history
dating back to its registered formation in 1912 in Boston, Massachusetts. PAFAV is an
internationally recognized and highly esteemed non-profit corporation serving the Albanian
community worldwide for more than 100 years. PAFAV has, among many other notable
endeavors, successfully maintained the Dielli newspaper, the oldest Albanian newspaper, in print
form since 1909. PAFAV has advocated on behalf of Albanian’s globally, made donations to
Albanians in need, awarded scholarships, and achieved critically acclaimed recognition amongst
its members, the greater Albanian community, and U.S. and Albanian political and business
leaders globally.

      As a result of its more than 100 years of operations, the name, The Pan-Albanian Federation
of America Vatra (The Hearth), and “VATRA” (collectively, “PAFAV Trademark”), and its




service mark,                       (“PAFAV Service Mark”), have garnered incalculable
commercial value.

       We write to you concerning your unauthorized use of the PAFAV Trademark and the
PAFAV Service Mark. You unauthorized use has caused, and continues to cause, irreparable
damage to PAFAV. We have recently learned that you maintain a website unlawfully using the
name and likeness of the PAFAV Trademark and the PAFAV Service Mark. See Exhibit A. You
also maintain a Facebook page that makes unauthorized use of the PAFAV Trademark. See Exhibit
B. Additionally, we also learned you are intentionally using the PAFAV Trademark and PAFAV
Service Mark without authorization when promoting a convention (“Convention”) scheduled for
Saturday, October 31st, 2020 at Portofino Restaurant in Bronx, New York. See Exhibit A. Your
promotion of the event is unlawfully placed under the auspices of, name of, and in association
with, PAFAV.

        Even more egregious is that you have turned your violations of PAFAV’s intellectual
property rights into an instrument for monetary gain by collecting fees, payments, and donations
at your Convention and in your ordinary course of business. See Exhibit A. This scheme unlawfully
misleads PAFAV’s current members and supporters to remit funds to you when those funds are
intended for PAFAV. Nonetheless, you benefit from these monies from your unauthorized and
unlawful use of the PAFAV Trademark and the PAFAV Service Mark. Your scheme deprives
PAFAV of these economic benefits.


                                                 2
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                                      90 Canal Street, Suite 400
                                         Boston, MA 02114

                                          (617) 874-1411
                                    WWW.PAKROOHLAW.COM
                                     darius@pakroohlaw.com

       Be advised that you have not been authorized to carry out any of the acts described herein.
On January 19, 2020, the Pan Albania Federation of America – DC Chapter (“PAFAV – DC
Chapter”) was voted to be disbanded. Irrespective of whether you agree with that decision, your
actions remain unlawful. Furthermore, on numerous occasion you were explicitly requested to
cease and desist your activities.

         Despite these numerous warning, and multiple attempts by PAFAV to amicably resolve
this matter with you, on September 17, 2020 you intentionally and in bad faith filed with the United
States Patent and Trademark Office for the PAFAV Service Mark. See Exhibit C. This is not a
mere coincidence but rather a deliberate act by you to hijack PAFAV’s intellectual property. Your
filing, inter alia, is, unlawful, immoral and free rides on PAFAV.

        The circumstances surrounding your acts and omissions, including, and not limited to, your
tenured relationship with and knowledge of PAFAV’s long history and reputation in the Albanian
community, and your disagreements with the PAFAV and its management, unequivocally support
a finding that your infringement is blatant, intentional, and willful.

       Given PAFAV’s recognition and good will, your use of the PAFAV Trademark and the
PAFAV Service Mark will cause its current and future members, members of the Albanian ethic
community, and United States and Albanian political and business leaders to be confused and
mistakenly believe that PAFAV is the source of, affiliated with, sponsors or endorses your
services.

        Your actions constitute, inter alia, willful trademark infringement, unfair competition,
cyber piracy and dilution in violation of Sections 43(a), 43(c) and 43(d) of the Lanham Act, and
subject you to monetary damages including treble damages based on the willful nature of the
infringement. Additionally, PAFAV believes that your conduct is tortious and highly suggestive
of your intentional interference with PAFAV’s contractual relationships with its current members,
and, moreover, a fraudulent scheme designed to artificially deprive PAFAV of its current and
future membership, newspaper sales, donations, and economic gains.

        We have strong reason to believe your above-stated actions also violate Massachusetts
General Laws, Chapter 93A (“The Massachusetts Consumer Protection Statute”), which also may
subject you to double or treble damages, and award of attorney’s fees and costs. Your failure to
cease and desist use of the PAFAV Trademark and the PAFAV Service Mark, and your bad faith
filing with the United States Patent and Trademark Office, constitute knowing and willful violation
of Chapter 93A.




                                                  3
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                                      90 Canal Street, Suite 400
                                         Boston, MA 02114

                                           (617) 874-1411
                                     WWW.PAKROOHLAW.COM
                                      darius@pakroohlaw.com
        PAFAV takes your violations, including your unlawful use of its intellectual property, very
seriously and seeks to resolve this matter without resorting to litigation including filing an
application for a temporary restraining order. Accordingly, to resolve this matter efficiently and
amicably out of court, please confirm that you will immediately:

       1. assign to PAFAV the September 17, 2020 filing of the PAFAV Service Mark;
       2. cease and desist all uses of the PAFAV Trademark, and any similar name or likeness;
       3. cease and desist all uses of the PAFAV Service Mark and any similar name or likeness;
       4. cease and desist from any and all development, sale distribution and promotion of any
           and all products, services and events in connection with the PAFAV Trademark and
           the PAFAV Service Mark;
       5. cease and desist the use of The Pan-Albanian Federation of America Vatra - DC
           Chapter, and any similar name or likeness;
       6. cease and desist the operation of the “PAFAV- DC Chapter” as an entity or group;
       7. deactivate the website located at < https://federatapanshqiptarevatra.com>, unlock the
           domain name to allow it to be transferred and provide us with the any code to facilitate
           such transfer;
       8. deactivate all social media accounts created and/or used in connection with “PAFAV-
           DC Chapter”, and The Pan-Albanian Federation of America Vatra (The Hearth),
           including    and    not    limited     to,    the       Facebook   account   located   at
           https://www.facebook.com/Pan-Albanian-Federation-of-America-Vatra-the-Hearth-
           DC-Chapter-130222160391703/ (see Exhibit B);
       9. terminate any promotion of the Convention that references or associates with PAFAV;
       10. return all documents and records in your possession or control associated with
           “PAFAV- DC Chapter”;
       11. return all monies collected by you for the “PAFAV- DC Chapter”;
       12. return all monies collected by you where the effort to collect money incorporated the
           use of either the PAFAV Trademark or PAFAV Service Mark; and



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                                      90 Canal Street, Suite 400
                                         Boston, MA 02114

                                          (617) 874-1411
                                    WWW.PAKROOHLAW.COM
                                     darius@pakroohlaw.com
       13. Disclose all bank accounts maintained by “PAFAV- DC Chapter”

         We further demand that you immediately confirm to us, in writing, no later than 5:00 p.m.
Easter Standard Time on Monday, October 26, 2020, your intent to comply promptly with our
demands, failing which our client will proceed with the necessary measures to protects it valuable
rights, including, if necessary, securing injunctive relief in court against you, and recovering all
appropriate damages, including treble damages, attorney’s fees and costs.

                Furthermore, PAFAV will pursue claims of contributory trademark infringement
and contributory unfair competition, among others, against any person or entity that furthers,
assist, or associate with you.

       Should you wish to discuss any aspect of this matter, we suggest you have your legal
representative contact the undersigned before the above-referenced deadline.

      Nothing herein is intended to limit my client’s rights or claims, nor shall anything be
deemed to be a limit or waiver of any of my client’s rights at law or in equity.



                                                       Very truly yours,

                                                       Darius Pakrooh, Esq.



Enclosures (3)
cc: The Pan-Albanian Federation of America Vatra (The Hearth) Incorporated (by Email and
    First-Class Mail)




                                                  5
Soure: https://federatapanshqiptarevatra.com
                      Case 1:21-cv-00875-JSR   Document 1-5 Filed 02/02/21 Page Cease
                                                                                7 ofand
                                                                                      22Desist Letter - Exhibit A




   VATRA
   FEDERATA PAN-SHQIPTARE E AMERIKES /PAN-ALBANIAN FEDERATION OF AMERICA




   WELCOME- MIRESEVINI




                               FEDERATA PAN-SHQIPTARE E AMERIKES VATRA
                                             28 PRILL 1912
                      THE PAN-ALBANIAN FEDERATION OF AMERICA VATRA THE HEARTH
                                                  28 APRIL 1912


         Faqja elektronike ndertuar nga Komisioni VATRA 5 Tetor 2019 dhe VATRA Washington DC
         Case 1:21-cv-00875-JSR Document 1-5 Filed 02/02/21 Page 8 of 22
             Build by VATRA’s 5th October Commission And VATRA Washington DC




Komisioni VATRA 5 Tetor 2019 ka kënaqsinë t’ju njoftoj se “VATRA” mban Kuvendin e
saj ditën e shtunë më 31 Tetor 2020, në ora 10.00 te mëngjesit në Portofina Restau-
rant – Salla e Konferencave. Ju njoftojmë se per përshkak të virusit Covid -19 numri i
pjesëmarrësve do të jetë i kufizuar. Ne pamundësi te presencës suaj ju mund të na
nderoni me pjesmarrjen tuaj nëpermjet lidhjes elektornike nepermjet ketij linku :
https://meetmsk.zoom.us/j/92959273285


Me respekt -Komisioni VATRA 5 Tetor 2019 .Anetaret e Komisionit VATRA 5 Tetor
2019: Z.Sergio Bitici, Z. Ahmet Giaffo, Z. Ahmet Hoti , Z.Nexhat Kalici, Z.Kris
Kirka , Dr. Elton Mara, Z.Armin Zotaj


Adresa : Portofino Restaurant – 555 City Island Ave, Bronx New York 10464


Nr i telefonit 718-885-1220 -Salla e Konferencave.


Ju lutemi konfirmoni ardhjen tuaj në adresën e mësiperme jo me vonë se 19
Tetor 2020. Ju lutemi konfirmoni numrin e personave që do të dëshirojnë te jenë
present. Nëpërmejt email : komisionivatra@gmail.com


Ose nepermjet postes tek adresa : Bronx PO Box 622504, Bronx New York 10462
                     TH
       Case 1:21-cv-00875-JSR Document 1-5 Filed 02/02/21 Page 9 of 22
The Commission of 5TH October 2019 is pleased to inform that VATRA will be holding
its Convention on Saturday, October 31st 2020. The convention will be held at the
conference center of Portofino Restaurant starting at 10am. In the event that your
in-person participation is not possible due to restrictions related to COVID-19, you
can connect with us through this link. https://meetmsk.zoom.us/j/92959273285


Respectfully. The Commission of 5th October 2019. Members:Z.Sergio Bitici, Z. Ah-
met Giaffo, Z. Ahmet Hoti , Z.Nexhat Kalici, Z.Kris Kirka , Dr. Elton Mara, Z.Armin
Zotaj


Venue Information: Conference center Portofino Restaurant – 555 City Island Ave,
Bronx New York 10464 Tel: 718-885-1220


Seating is limited due to restrictions related to COVID-19. Please RSVP your participa-
tion no later than October 19th, 2020 at komisionivatra@gmal.com; or PO Box
622504, Bronx NY 10462



                     MISIONI – THE MISSION

Të rrisë në mes Shqiptarëve të Amerikës dhe me anë të tyre në mes Shqiptarëve
kudo ata banojnë (Shqipëri, Kosovë, në trojet tjera etnike dhe në të gjitha
vendet e Botës) shpirtin e ndihmës për njëri-tjetrin dhe të dashurisë për vendin
dhe kombin me aktivitete patriotike, konferenca, simpoziume dhe botime;


To promote among Albanians living in the United States of America (“America” or
“USA”) and, through them, among Albanians wherever they may live (Albania, Kosova,
other ethnic regions and countries throughout the world) the spirit of helping one an-
other and of love for the motherland and for the nation, by means of patriotic activities,
conferences, symposiums and publishing books and magazines.


Të rrisë mes tyre respektin dhe dashurinë për kushtetutën, ligjet dhe institu-
cionet e SHBA, të Shqipërisë dhe të shteteve tjera demokratike ku ata jetojnë, si
dhe të forcojë marrëdhëniet e miqësisë në mes qytetarëve amerikanë, qyte-
tarëve të vendeve të tjera dhe shqiptarëve;


To promote among them respect and love for the Constitution, laws, and institutions of
        Case 1:21-cv-00875-JSR Document 1-5 Filed 02/02/21 Page 10 of 22
the USA Albania and other democratic countries where they live; to strengthen friendly
relations among Albanians and American citizens and those of other countries.e




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                                                             Cease
        Case 1:21-cv-00875-JSR Document 1-5 Filed 02/02/21 Page  11and
                                                                     ofDesist
                                                                        22 Letter - Exhibit B




                  Pan
       Search Facebook
                       Albanian
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                                              of America
                                                    4    4

                  Vatra (the Hearth) DC Chapter
                  Nonprofit Organization

         Send Message



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                    Virginia, Maryland and
                    Washington DC Washington
                    D.C., DC 20005




               VATRA was founded on April 28 1912 in Boston
               Massachusetts. The oldest Albanian Organization in the USA

               VATRA DC Chapter was founded on June 19, 2010. It covers
     VATRA DC Chapter was
Case 1:21-cv-00875-JSR       founded
                          Document  1-5on Filed
                                          June 02/02/21
                                                19, 2010. ItPage
                                                             covers
                                                                 12 of 22
     Washington DC and the surrounding states of Maryland,
     Virginia, Delaware, North Carolina, Wes… See More

      3,139 people like this

      3,206 people follow this

      204 people checked in here

      https://federatapanshqiptarevatra.com/

      Send Message

      vatrafederationdc@gmail.com

      Always Open

      Nonprofit Organization




 Photos                                                         See All
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                                                          25?37


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                                          Create Post


          Photo/Video                      Check in              Tag Friends



          Pan Albanian Federation of America Vatra (the
          Hearth) DC Chapter
          1d ·

      One of the founders of VATRES Faik Konica in the quality of the
      Albanian Kingdom Minister in Washington would sign the
      agreement between the US and the Albanian Kingdom on
      October 22, 1928 in Washington. Meanwhile Vatrani Koco Kota
      was the first prime minister of the Albanian Kingdom and his
      telegram to the Secretary of State at the time.
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          Pan Albanian Federation of America Vatra (the
          Hearth) DC Chapter
          1d ·

    VATRES branch in Washington DC although excluded from the
    Assembly Not legitimate of the shame of January 2020 continues
    its work and is heading towards the Assembly of VATRES on
    October 31, 2020 in the Bronx
    When others are silent in VATER on December 1, 2018 The
    VATRES branch in Washington DC requested this:
    The VATRES branch in Washington on December 1, 2018 has
    officially requested an extraordinary meeting of VATRES for this
    publication for the Albanian opinion of Mr. B… See More
      · See original · Rate this translation




   Pan Albanian Federation of America Vatra (the Hearth) DC
   Chapter
   December 11, 2018 ·

      On November 2, 2018 Z. Agron Tufa visited the headquarters
      of the Pan-Albanian Federation of America VATRA in New
      York. The editor of the newspaper Sun has refl… See More
          · See original · Rate this translation



     11                                                       1 Share

             Like                    Comment       Share


          Write a comment...
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        Pan Albanian Federation of America Vatra (the
        Hearth) DC Chapter
        2d ·

 Sali Bollati ne artikuj e tij Konspiracioni, Dredhia, Dinakëria Dhe
 Grabitja Greke Që Nga Lashtësia mes te tjerash thekson
 "Dhe mbas pushtimit te Çamerise me 1913; jo vetem qe nuk hapen
 shkolla; por te krishtereve ju ndalua dhe vazhdon edhe sot t'ju
 ndalohet gjuha shqipe ndersa per Çamet musulmane, megjithese
 Lidhja e kombeve si edhe Kryeminstri Pangallos i njohen si minoritet
 shqiptar, ju mohuan te gjitha te drejtat deri me vrasje e masakra i
 shperngulen nga Trojet e pron… See More

 See Translation




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       Pan Albanian Federation of America Vatra (the
       Hearth) DC Chapter
       3d ·

 Miremengjes nga Washington DC . Lindja e diellit ne kryeqytetin
 amerikan.
 Every Morning Starts A New Page In Your Story. Make It Great One
 Today ---Unknown… See More

 See Translation




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        Write a comment...



       Pan Albanian Federation of America Vatra (the
       Hearth) DC Chapter
       3d ·
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   The UN programme World Food Organization was declared the
   winner of the Nobel Peace Prize this year. US has contributed 43
   % of this organization's budget program for 2020. This aid was
   critical for this year when the world was blocked by the virus
   coming from Communist China
   Meanwhile, the contribution of China to this organization for the
   2020 budget was only 0.6 percent.
   Although they claim to be superpower and the main causes of
   the virus that caused 1.1 million deaths, 3… See More
      · See original · Rate this translation




   U.S. Department of State
   4d ·
   Secretary Pompeo: Americans have supplied 43% of the Nobel
   Prize winning World Food Programme's 2020 budget, by far the
   greatest contribution from any nation. T… See More

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           Like          Comment              Share


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                                                                   107
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                                                                                   22 Letter - Exhibit C
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 Trademarks > Trademark Electronic Search System (TESS)

TESS was last updated on Thu Oct 22 03:17:22 EDT 2020



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Record 1 out of 1
                                                 ( Use the "Back" button of the Internet Browser to return
to TESS)




Word Mark THE · PAN- ALBANIAN · FEDERATION · OF · AMERICA · THE HEARTH VATRA · INCORPORATED ·
            BOSTON · MASS · JUNE · 13 · 1912
Goods and
            IC 041. US 100 101 107. G & S: Providing on-line non-downloadable newspapers
Services
Mark
Drawing     (0) UNKNOWN
Code
Serial
            90187864
Number
Filing Date September 17, 2020
Current
            1B
Basis
Original
Filing      1B
Basis
Owner       (APPLICANT) Pan Albanian Federation Of America DC Chapter non-profit organization D.C. 631 W Church
            Road Sterling VIRGINIA 20164
Description The mark consists of a seal where the name THE PAN ALBANIAN FEDERATION OF AMERICA THE
of Mark     HEARTH is all around. In middle is a hearth (like a fire place) VATRA in the top of hearth and in the bottom is
            Incorporated Boston, MA 13 June 1912.
Type of
            SERVICE MARK
Mark
Register    PRINCIPAL
Live/Dead
            LIVE
Indicator
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